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                                                                                           CLOSED


                                  UNITED STATES DISTRICT COURT
                                     DISTRICT OF NEW JERSEY



 TOYS “R” US, INC.                                            :
                                                              :         Civil No. 13-6759(MCA)
                                                              :
                           Plaintiff(s),                      :
                                                              :
                   v.                                         :
                                                              :                 ORDER
 COLONY NATIONAL INSURANCE                                    :
 COMPANY,                                                     :
                                                              :
                           Defendant(s)                       :




            It appearing that it has been reported to the Court that the above-entitled action has been

 settled,

            IT IS on this the 9th day of February, 2016,

            ORDERED that this action is hereby dismissed without costs and without prejudice to

 the right, upon good cause shown within 60 days, to reopen the action if the settlement is not

 consummated; and it is further,

            ORDERED that the Clerk shall close the file in this matter.




                                                            s/Madeline Cox Arleo                 .
                                                           UNITED STATES DISTRICT JUDGE
